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                  - and –

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     Counsel to the Debtors and
     Debtors in Possession

                  IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE EASTERN DISTRICT OF VIRGINIA
                             RICHMOND DIVISION
     - - - - - - - - - - - - - - x
     In re:                      :             Chapter 11
                                 :
     CIRCUIT CITY STORES, INC., :              1Case No. 08-35653 (KRH)
     et al.,                     :
                                 :
                    Debtors.     :             Jointly Administered
     - - - - - - - - - - - - - - x
         ORDER UNDER BANKRUPTCY CODE SECTION 1121(d) EXTENDING
          EXCLUSIVE PERIODS DURING WHICH DEBTORS MAY FILE AND
             SOLICIT ACCEPTANCES OF A PLAN OF LIQUIDATION
                  Upon the motion (the “Motion”)1 of the Debtors

     for entry of an order under Bankruptcy Code section

     1121(d) extending the exclusive periods during which the

     Debtors may file and solicit acceptances of a plan; and

     1
         Each capitalized term not otherwise defined herein shall have the
         meaning ascribed to it in the Motion.
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     the Court having reviewed the Motion; and the Court

     having determined that the relief requested in the

     Motion is in the best interests of the Debtors, their

     estates, their creditors, and other parties in interest;

     and it appearing that proper and adequate notice of the

     Motion has been given and that no other or further

     notice is necessary; and upon the record herein; and

     after due deliberation thereon; and good and sufficient

     cause appearing therefor, it is hereby

                ORDERED, ADJUDGED, AND DECREED that:

                1.     The Motion is GRANTED.

                2.     The Plan Period shall be and hereby is

     extended through and including July 31, 2009; provided,

     however, that, in addition to the Debtors, the

     Creditors’ Committee shall have the right to file one or

     more plans during the Plan Period.

                3.     The Solicitation Period shall be and

     hereby is extended through and including September 29,

     2009; provided, however, that, in addition to the

     Debtors, the Creditors’ Committee shall have the right ,

     to solicit and obtain acceptances for any plan(s) of

     liquidation.




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                  4.     This Order is without prejudice to (i)

     the right of the Debtors to seek further extensions of

     the Exclusive Periods, and (ii) the right of any party-

     in-interest to seek to reduce the Exclusive Periods for

     cause.

                  5.     The requirement under Local Rule 9013-

     1(G) of the Local Rules for the United States Bankruptcy

     Court for the Eastern District of Virginia to file a

     memorandum of law in connection with the Motion is

     hereby waived.

                  6.     This Court will retain jurisdiction with

     respect to any dispute concerning the relief granted

     hereunder.


     Dated:   Richmond, Virginia
      Jul 27 2009 _______, 2009


                                   /s/ Kevin Huennekens
                                  UNITED STATES BANKRUPTCY JUDGE

                                    Entered on docket: 7/28/09




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     WE ASK FOR THIS:

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     Counsel to the Debtors and Debtors in Possession



      CERTIFICATION OF ENDORSEMENT UNDER LOCAL RULE 9022-1(C)

          Pursuant to Local Bankruptcy Rule 9022-1(C), I
     hereby certify that the foregoing proposed order has
     been endorsed by or served upon all necessary parties.

                                            /s/ Douglas M. Foley




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